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 1 JEFFRY K. FINER
   WA. Bar No. 14610
 2 KSB Litigation
   510 W Riverside Ave Ste 300
 3 Spokane, WA 99201-0515
   Telephone: (509) 666-2835
 4 Email: jfiner@ksblit.legal
 5 Attorney for Defendant
   SAMI ANWAR
 6
 7                          IN THE UNITED STATES DISTRICT COURT FOR THE
                                  EASTERN DISTRICT OF WASHINGTON
 8

 9   UNITED STATES OF AMERICA,                          CASE NO. 4:18-CR-06054-EFS-1
10                                 Plaintiff,           MOTION FOR ADMISSION PRO HAC VICE
11                           v.                         COURT: Hon. Edward F. Shea
12   SAMI ANWAR,
13                                 Defendant.
14
15
            Pursuant to Local Rule 83.2(c), Undersigned Counsel hereby files this Motion for Admission Pro
16
     Hac Vice and respectfully requests that the Court permit Attorney Alan Ellis (“Attorney Ellis”) to
17
     represent Defendant Sami Anwar (“Mr. Anwar”) in the above-styled case. In support thereof,
18
     Undersigned Counsel states as follows:
19
            1.      Mr. Anwar has retained Attorney Ellis to represent him in the above-styled case.
20
     Attorney Ellis’ address is:
21
                 Law Offices of Alan Ellis
22
                 35501 South Highway 1, Unit 150
23
                 Gualala, CA 95445-9553
24
                 Telephone: 415-895-5076
25
                 Email: AELaw1@AlanEllis.com
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            2.      Attorney Ellis has been licensed to practice law in the Commonwealth of Pennsylvania
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     since 1968. He further has been admitted to practice before the following courts:
       MOTION FOR ADMISSION PRO HAC VICE                1
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                                                                                         Year
 1                                                 Court
                                                                                       Admitted
 2                       Supreme Court of Pennsylvania – PA Bar No. 17430                  1968
                         U.S. District Court for the Northern District of California       1987
 3                       U.S. District Court for the Eastern District of
                         Pennsylvania                                                     1969
 4                       U.S. District Court for the Middle District of
                         Pennsylvania                                                     1975
 5
                         U.S. District Court for the Western District of
 6                       Pennsylvania                                                     1999
                         U.S. District Court for the District of Colorado                 1999
 7                       U.S. District Court for the Northern District of New York        2009
 8          3.     Attorney Ellis has associated with Undersigned Counsel to act as local counsel in the
 9 above-styled case. Undersigned Counsel is admitted to practice in the Eastern District of Washington.
10 Undersigned Counsel’s address is 510 W. Riverside Ave, Ste 300, Spokane, WA 99201-0515, and his
11 phone number is (509) 666-2835.
12          4.     Mr. Anwar has retained Attorney Ellis to represent him in post-conviction matters for
13 which Attorney Ellis has significant, specialized experience.
14          5.     Attorney Ellis certifies that he has no pending bar matters or suspensions in any court.
15          6.     Attorney Ellis further certifies that he will make himself familiar with, and shall be
16 governed by, the local rules of this Court, the rules of professional conduct of the Washington State Bar,
17 and all other requirements governing the United States District Court for the Eastern District of
18 Washington.
19          WHEREFORE, IN LIGHT OF THE ABOVE, Undersigned Counsel respectfully requests that
20 this Court allow Attorney Ellis to represent Mr. Anwar in the above-styled case.
21    Dated: March 14th, 2022.                                     JEFFRY K. FINER
22
23
                                                                   Jeffry K. Finer, WSBA No. 14610
24                                                                 Local Counsel for Defendant
25                                                                 SAMI ANWAR

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      MOTION FOR ADMISSION PRO HAC VICE                     2
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      Case 4:18-cr-06054-EFS         ECF No. 286       filed 03/14/22     PageID.7493 Page 3 of 3



 1                                        CERTIFICATE OF SERVICE

 2          I hereby certify that on March 14th, 2022, the foregoing MOTION FOR ADMISSION PRO

 3 HAC VICE was filed electronically and a copy was served by mail on anyone unable to accept
 4 electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
 5 electronic filing system or by mail to anyone unable to accept electronic filing as indicated on the Notice
 6 of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.
 7
                                                           ______________________
 8                                                         Sarah Cohan
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      MOTION FOR ADMISSION PRO HAC VICE                   3
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